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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
 7                                      AT TACOMA
 8
 9       UNITED STATES OF AMERICA,
                                                              CASE NO.CR05-5797RBL
10
                               Plaintiff,
11               v.                                             ORDER GRANTING
12                                                              CONTINUANCE OF
         MARCY GOODSON,                                         TRIAL DATE
13
14                             Defendant.
15
16         The Government and Defendant jointly moved to continue the trial date. For the reasons orally
17         stated, on the record, the motion is GRANTED and the Trial Date is CONTINUED to MAY
18         8, 2006 at 9:00 a.m.
19
20         In view of the foregoing, the court finds and rules as follows:
21         1. Failure to grant a continuance in this matter would deny the defense the reasonable time
22         necessary for effective preparation taking into account the exercise of due diligence. Title 18
23         U.S.C. §3161(h)(8)(B)(iv).
24          2. The ends of justice served by granting the requested continuance outweigh the interest of the
25          public and the defendant in a speedy trial. Title 18 U.S.C. §3161(h)(8)(A). The period of delay
26          resulting from this continuance from JANUARY 18, 2006 to MAY 8, 2006 is excluded for
27          speedy trial computation purposes under 18 U.S.C. § 3161(h)(8)(A) and (B) as this is a
28          reasonable period of delay.
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           ///


     ORDER -1
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 1
           ACCORDINGLY:
 2
           The Jury Trial is CONTINUED to Monday, MAY 8, 2006 at 9:00 a.m.
 3
           The Pretrial Conference is rescheduled for MAY 2, 2006 at 9:00 a.m.
 4
           The Motions Cutoff date is extended to MARCH 6, 2006.
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 7
     IT IS SO ORDERED this 18th day of January, 2006.


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10                                            RONALD B. LEIGHTON
                                              UNITED STATES DISTRICT JUDGE
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     ORDER -2
